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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 JOSE MORENO, Individually and on Behalf
 of All Others Similarly Situated,
                                                       Case No. 2:18-cv-00510-JNP
                 Plaintiff,
                                                       Judge Jill Parrish
                         v.

 POLARITYTE, INC., DENVER LOUGH, and
                                                       ORDER CONSOLIDATING
 JEFF DYER,
                                                       RELATED ACTIONS
            Defendants
 YEDID LAWI, Individually and on Behalf of
 All Others Similarly Situated,                        Case No. 2:18-cv-00541-DB
                  Plaintiff,                           Judge Dee Benson
                         v.

 POLARITYTE, INC., DENVER LOUGH, and
 JEFF DYER,
            Defendants.


         This matter is before the court on the Motion of Yedid Lawi for Consolidation,

Appointment as Lead Plaintiff and Approval of Counsel. For good cause appearing, the court

hereby GRANTS IN PART Movant Lawi’s motion. The court GRANTS Lawi’s motion to

consolidate cases, but defers ruling on Lawi’s motion for appointment as lead plaintiff and

approval of counsel at this time. Any party opposing the appointment of Lawi as lead plaintiff or

opposing his choice of lead counsel must file an opposition memorandum within 14 days of this

order.

IT IS HEREBY ORDERED:

         1.    Pursuant to Federal Rule of Civil Procedure 42 and local rule DUCivR 42-1, the

above-captioned actions (Case Nos. 2:18-cv-510 and 2:18-cv-541) are hereby consolidated for all

purposes, including pretrial proceedings, trial and appeal, into one action;
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        2.       The caption of these consolidated cases shall be “In re Polarityte, Inc. Securities

Litigation” and the files of this action shall be maintained in one file under Master File No. 2:18-

cv-510 JNP. Any other actions now pending or hereafter filed in this District that arise out of the

same facts and claims as alleged in these related actions shall be consolidated for all purposes, if

and when they are brought to the Court’s attention and the Court accepts the transfer and approves

consolidation;

        3.       Every pleading filed in the consolidated actions shall bear the following caption:

                         IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION

 IN RE POLARITYTE, INC. SECURITIES                     Master File No. 2:18-cv-510-JNP
 LITIGATION,                                           (Consolidated with 2:18-cv-514-DB)

 This Document relates to:                             [DOCUMENT TITLE]



        4.       When the document being filed pertains to all actions, the phrase “All Actions”

shall appear immediately after the phrase “This Document Relates To:”. When the document

applies to some, but not all, of the actions, the document shall list, immediately after the phrase

“This Document Relates To:”, the docket number for each individual action to which the document

applies, along with the name of the first-listed plaintiff in said action;

        5.       All orders, pleadings, motions and other documents shall, when filed and docketed

in the Master File, be deemed filed and docketed in each individual case to the extent applicable.

When an order, pleading, motion or document is filed with a caption indicating that it is applicable

to fewer than all individual actions in the Consolidated Action, the clerk shall file such pleadings

in the Master File and note such filing in the Master Docket and in the docket of each action

referenced;



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       6.      To the extent not otherwise provided by law, following this Order the parties shall

comply with 15 U.S.C. § 78u-4(b)(3)(C), specifically during the pendency of this litigation, or

until further order of this Court, the parties shall take reasonable steps to preserve all documents

within their possession, custody, or control, including computer-generated and stored information,

and materials such as computerized data and electronic mail, containing information that is

relevant or that may lead to the discovery of information relevant to the subject matter of the

pending litigation;

       7.      The court defers ruling on Lawi’s motion for appointment as lead plaintiff and

approval of lead counsel at this time. Any party opposing the appointment of Lawi as lead plaintiff

or opposing his choice of lead counsel must file an opposition memorandum within 14 days of this

order. The court will thereafter rule on the motion.

       8.      Once appointed, lead plaintiff shall file and serve a Consolidated Complaint no later

than sixty (60) days after his or her appointment as lead plaintiff.

       9.      Defendants shall have sixty days after filing and service of the Consolidated

Complaint to answer or otherwise respond to the Consolidated Complaint.

       10.     Within 90 days of service of the Consolidated Complaint, lead plaintiff must file a

motion for class certification pursuant to DUCivR 23-1(d).




DATED November 28, 2018
                                               BY THE COURT:


                                               ______________________________________
                                               JILL N. PARRISH
                                               United States District Judge




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